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             IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF GEORGIA
                        MACON DIVISION

THE UNITED STATES OF                    *
AMERICA,                                *
                                        *
      Plaintiff,                        *
                                        *       Civil Action No.:
      vs.                               *
                                        *      5:17-CV-501 (MTT)
GARY A. DAWSON,                         *
RODNEY P. DAWSON, and                   *
KAY S. DAWSON, Individually             *
or as Executrix of the Estate of        *
JOHN W. DAWSON, JR.,                    *
Deceased,                               *
                                        *
      Defendants.                       *

            AMENDED COMPLAINT FOR DECLARATORY
                  AND INJUNCTIVE RELIEF

      COMES NOW, The United States of America (hereinafter "the

United States") as Plaintiff in the above captioned case and by and through

the undersigned United States Attorney for the Middle District of Georgia

restates and amends its originally filed complaint for declaratory and

injunctive relief against the Defendants as follows:

                      JURISDICTION AND VENUE

      1.     In this case the United States acts as Plaintiff to enforce duties,

rights, and entitlements exercised under federal law and jurisdiction is

therefore proper under 28 U.S.C. §§ 1331 and 1345.

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      2.     The Middle Judicial District of Georgia and its Macon Division

therein is the proper venue of this action by virtue of the following:

             (a) The Defendants above-named are residents of Pulaski

County, Georgia, within this District and Division;

             (b) The acts and omissions of the Defendants hereinafter

described occurred within this District and Division; and

             (c) The property on which the United States seeks to enforce

the terms of a lease is in Pulaski County, Georgia, within this District and

Division.

                       RELEVANT BACKGROUND

      3.     The Federal Aviation Administration (FAA) is a department or

component of the United States Department of Transportation, an agency of

the United States. 49 U.S.C. § 106.

      4.     As pertinent hereto, the FAA has sole authority as and for the

United States to regulate the use of its airspace for its efficient use and the

safety of aircraft using the airspace including regulation of all aspects of

aviation navigation such as radio navigation systems and other navigation

aids. 49 U.S.C. §§ 106(g), 40103–40107, 40113, 44502, 44701–44702,

44708–44709, 44719, 44721–44722, and 46308; and 14 C.F.R. Part 170.




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      5.     In furtherance of the accomplishment of its flight safety

mission, the FAA has established and operated a comprehensive network of

radio navigation aids which includes a Very High Frequency Omni Range

facility (VOR), a Distance Measuring Equipment (DME), and a Tactical Air

Navigation (TACAN) in Pulaski County, Georgia (collectively hereinafter

the "VNA VOR").

      6.     A VOR is a navigational aid that operates in the very high

frequency band of the radio spectrum that radiates uniformly in azimuth

(bearing locations). Specifically, a VOR facility operates between 108 MHz

and 118 MHz and provides azimuth guidance to the pilot in the form of a

cockpit visual display.

      7.     This VOR is a conventional VOR with a frequency set at 116.5

MHZ and a Magnetic Variation of one (1) degree East. This VOR was

modeled with standard Twenty-Six (26) feet radius counterpoise at a height

of Twelve (12) feet. This VOR has been identified to be retained as part of

the VOR Minimum Operating Network (MON).

      8.     The principle operation of a VOR facility is bearing

measurement by phase components. This means that the transmitter on the

ground produces and transmits two (2) signals which make it possible for the

receiver (the aircraft) to determine its position in relation to the ground


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station by comparing the phases of the two (2) signals. The VOR utilizes a

technique called space modulation. There are two (2) separate signals that

radiate independently from the VOR and then are combined when received

by the aircraft receiver. This technique of space modulation is susceptible to

interference since each radiated signal component may take a slightly

different path to the receiver. Transmission of VOR signals can be affected

by Reflection or Scattering. Reflection occurs when radio frequency waves

reflect off objects such as metal or glass. Scattering occurs when the radio

frequency waves hit an uneven surface such as a rough or uneven ground

plane which may cause the radio frequency energy to reflect in many

directions. These effects can cause the signals emitted from the VOR

ground station to combine in space and when received by the airborne

equipment, the combination of two (2) different modulating signals yields a

resultant signal to the aircraft containing false bearing information to the

aircraft receiver.

      9.      Distance Measuring Equipment (DME) is a terminal area or en

route navigation system consisting of a transponder which automatically

transmits encoded signals in response to airborne equipment interrogations

providing the pilot with direct readout indication of aircraft distance from

the identified DME facility.


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       10.    Tactical Air Navigation (TACAN) is a system used as a UHF

transponder facility in the en route navigation system which transmits a

pulse train providing distance and azimuth information to an aircraft relative

to facility location.

       11.    The VNA VOR was established on land leased from Slade

Farms, LLC which lease was executed by the Lessor on November 6, 2012,

and on behalf of the United States as Lessee on November 13, 2012, and

recorded in the property records of the Superior Court of Pulaski County,

Georgia on March 5, 2013, in Deed Book 281, Pages 606-17 (hereinafter the

"Lease"). The Lease accompanied the originally filed Complaint as

Attachment A and it is re-incorporated herein by reference thereto just as if

it were restated herein verbatim. In the said Superior Court property records

there is a notation penned onto the recorded lease directing reference to

Deed Book 299, Pages 385-86.

       12.    Property of Slade Farms, LLC, including the part which was the

subject of the Lease, was sold to the Defendants Gary A. Dawson and

Rodney Dawson and to the predecessor in interest of Defendant Kay S.

Dawson, Decedent John W. Dawson, Jr., on June 30, 2016, by Warranty

Deed recorded on that same date in the property records of the Superior

Court of Pulaski County, Georgia in Deed Book 299, Pages 380-81.


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      13.   Its Deed Book 281, Pages 606-17 recording in the Pulaski

County, Georgia property records was legal notice to the world, including

the Defendants and the predecessor in interest of Kay S. Dawson, that the

Lease was binding upon and enforceable against succeeding owners of the

leased land. Moreover, apparently contemporaneously with the execution

and transfer of the aforementioned Deed Book 299, Page 380-81 Warranty

Deed, the Lease was assigned to the Defendants and the predecessor in

interest of Kay S. Dawson by Assignment dated June 30, 2016, and recorded

that same date in the property records of the Superior Court of Pulaski

County, Georgia in Deed Book 299, Pages 385-86, which Assignment was

further memorialized by execution by John W. Dawson, Jr., Deceased, and

Defendants Gary A. Dawson and Rodney P. Dawson of an

"Acknowledgment of Assignee" thereon.

      14.   The originally filed Complaint in this case named as one of the

Defendants John W. Dawson, Jr. but it was learned after filing that Mr. John

W. Dawson, Jr. had passed away on May 21, 2017, and his wife, Kay S.

Dawson, had been appointed by the Probate Court of Pulaski County in case

number 2017-P-14 to serve as the Executrix of the his Estate. John W.

Dawson, Jr. is deleted as a party herewith. The real property which is the

subject of the Lease on which enforcement is sought herein was devised and


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bequeathed by the Last Will and Testament of John W. Dawson, Jr. to Kay

S. Dawson but she has not at this point exercised her prerogative as

Executrix to deed the property to herself; the property remains in the Estate

with Kay S. Dawson holding title thereto as Executrix for administrative

purposes until there is a Deed of Assent. Presently, therefore, Kay S.

Dawson is made a Defendant in her capacity as Executrix of the Estate of

John W. Dawson, Jr., as his successor in interest, with reservation to name

her as Defendant in her individual capacity upon her obtaining ownership

individually.

                        CRITICAL TERMS OF LEASE

      15.       Coming now to the issues in the case, the United States first

discusses some of the characteristics of the VNA VOR and why terms of the

Lease were critical thereto.

      16.       The VNA VOR is a part of a radio navigation system for

aircraft, enabling aircraft with a receiving unit to determine their position

and stay on course by receiving radio signals transmitted by the VOR as a

part of a network of fixed ground radio beacons. Transmission of the signals

to the aircraft is susceptible to interference such as when the radio waves

encounter reflective objects or conditions, or objects or conditions which




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scatter the signal. The resultant loss of integrity of the signal received by the

airborne receiver yields false bearing and hence false location information.

      17.      It is therefore imperative that a VOR be situated in such a way

and in such a place as to ensure that the radio signals emitted do not

encounter interference of the kind that yields false bearing and location

information.

      18.       In keeping with the aforementioned principles and in

accordance with Siting Criteria guidance adopted by the FAA, the Lease

requires that there be no obstructions within one thousand (1,000) feet of the

radio signal transmitter antenna, meaning that a circle with a radius of one

thousand feet from the antenna will remain clear of anything considered by

the FAA to interfere with the operation and proper functioning of the VOR.

       VIOLATION OF THE LEASE BY THE DEFENDANTS
      AND INTERFERENCE WITH THE PERFORMANCE BY
        THE UNITED STATES OF THE GOVERNMENTAL
            AND SAFETY FUNCTIONS OF THE FAA

      19.      Notwithstanding that the Lease was binding upon and

enforceable against them Defendants Gary A. Dawson and Rodney P.

Dawson and the predecessor in interest of Kay S. Dawson, Executrix, John

W. Dawson, Jr. put in place an irrigation system within One Thousand

(1,000) feet of the VNA VOR antenna. The irrigation system consists of a

One Thousand Two Hundred (1,200) feet metal structure. One end of the
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irrigation system is attached to a concrete pad with a pyramid shaped steel

structure securing it in place. The irrigation system has a center pivot

overhead sprinkler system consisting of several segments supported by

trusses and interspersed between wheeled towers which move in a circular

pattern discharging water fed through piping along the structure from the

pivot point at the center of the circle. That piping is approximately six (6)

inches in diameter.

      20.    The United States, by and through the FAA, determined that the

Defendants' above-ground, center pivot irrigation system and its components

within a 1,000 feet radius of the VNA VOR interferes with its proper

functioning. The Defendants' irrigation system so degraded the signal from

the VNA VOR antenna that the VOR monitoring system shut the facility

down on February 9, 2017, to avoid the transmission of erroneous signals to

aircraft from which erroneous location information of the plane would have

resulted. The VNA VOR has not functioned since that date.

               EFFECTS OF THE VIOLATION OF THE
            LEASE - VNA VOR HAS BEEN SHUT DOWN AND
             FLIGHT SAFETY HAS BEEN COMPROMISED

      21.    The VNA VOR navigational aid outage has a significant effect

on aircraft otherwise relying upon its input, instrument flight procedures and

air traffic control. The VNA VOR outage impacts nine (9) airports and the


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procedures that support the operations at these facilities. The lack of access

to the equipment’s capabilities removes the availability of the various

procedures at the airports this equipment serves. When procedures are

limited or not authorized, pilots must change their routes and destinations to

other airports. From the FAA’s data, from October 2016 through March

2017, approximately 1,315 flights utilized the airways that are serviced by

the VNA VOR.

      22.    Generally, there are areas in the sky into which non-military

traffic should not fly, and use of the VNA VOR and its kindred radio

navigation stations define routes or areas for flights, called Victor Route

Airways, to avoid these Military Operation Areas (MOA's). The airway

navigation system was designed to allow pilots to fly outside active MOA’s.

Under radar conditions, aircraft flying on the Victor Routes that navigate

around the MOA’s and utilize the VOR must be radar vectored around the

MOA’s by Air Traffic Control. The need for aircraft to now require an

increased focus and control by air traffic significantly adds to controllers’

workload. The nearness of the VNA VOR to the United States Air Force

Base in Houston County, Georgia, as well as the relatively heavy volume

(compared to some other states and geographical areas) of both fixed and




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rotary wing military traffic which can come within its orbit makes these

considerations of particular import.

      23.    As aforementioned, the VNA VOR has been non-operational

since February, 2017. Of necessity, the FAA has shifted the VNA VOR

workload to other navigational aids. Doing this collaterally unduly burdens

those facilities, pilots using the affected National Airspace System (NAS)

and the air traffic controllers working the airspace in this area and it creates

an unnecessary risk to the traveling public. This VNA VOR is also used by

the military. The FAA’s primary mission is the safe and efficient flow of the

flying public which requires the utilization of its systems, including the

operation of the VNA VOR. The FAA’s mission is being negatively

affected by the Defendants’ continued siting and operation of the irrigation

system described above and the FAA is requesting swift and final action

against them. The potential for catastrophic harm is great. Because the

workload of the VNA VOR is currently being absorbed by other

navigational aids in the FAA’s contingency plan, should any of those

facilities suffer from a shutdown, the adverse effect would be great.

                             RELIEF SOUGHT

      24.    On the basis of the actual controversy outlined in the foregoing,

the United States seeks a judgment of the Court under 29 U.S.C. § 2201 and


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Federal Rule of Civil Procedure 57 declaring the rights and legal relations of

the parties arising out of the Lease, to wit; that the Defendants are in

violation of the Lease and no obstruction of the kind and nature erected by

the Defendants may exist within 1,000 feet of the VNA VOR.

       25.    The United States invokes that provision of Fed. R. Civ. P. 57

under which the Court may order a speedy hearing of a declaratory judgment

action.

       26.    On the same considerations the United States seeks a

preliminary and permanent injunction under Federal Rule of Civil Procedure

65 requiring the Defendants to remove the offending irrigation system and

any components thereof from an area defined by a circle with a radius of

1,000 feet from the VNA VOR tower and barring re-introduction of any

such obstruction during the term of the Lease.

       27.    The United States would prefer an immediate hearing on its

entitlement to a preliminary injunction and upon advice of counsel, asks in

accordance with Fed. R. Civ. P. 65(a)(2) that the Court advance the trial on

the merits and consolidate it with the hearing for preliminary injunction,

permitting entry of a final declaratory judgment and a permanent injunction

incident to the trial.




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      WHEREFORE, the United States prays that effect be given its

within Amendment, that the Court set a speedy hearing under Fed. R. Civ. P.

57 consolidating it with the hearing on the United States' request for a

temporary and permanent injunction, that the United States have the

declaration of the Court enforced by permanent injunction that no

obstruction of any kind or nature is allowed within 1,000 feet of the VNA

VOR tower, that the Court's permanent injunction require removal instanter

of any obstruction within 1,000 feet of the VNA VOR tower, that the Court's

injunction bar introduction during the remaining term of the Lease of any

other obstruction within 1,000 feet of the VNA VOR tower, and that it have

such other and further relief as to the Court may seem just.

                                 CHARLES E. PEELER
                                 UNITED STATES ATTORNEY
                                 MIDDLE DISTRICT OF GEORGIA
                                 ATTORNEY FOR THE UNITED STATES



                          By:    /s/ Stewart R. Brown
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                      CERTIFICATE OF SERVICE

      I, Stewart R. Brown, Assistant United States Attorney, hereby certify

that on the 17th day of January, 2017, I electronically filed the above and

foregoing Amended Complaint with the Clerk of the Court using the

CM/ECF system which will send notification of such filing to the following:

      William Patrick Horkan, Esq.
      Attorney for the Defendants

      I also certify that I have mailed by the United States Postal Service the

document and a copy of the Notice of Electronic Filing to the following non-

CM/ECF participants:

      N/A.



                                /s Stewart R. Brown
                                Stewart R. Brown
                                Assistant United States Attorney




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